                      Case 1:22-cv-12139-LTS Document 11 Filed 03/01/23 Page 1 of 5
O AO 121 (6/90)
TO:

                   Register of Copyrights                                                           REPORT ON THE
                   Copyright Office                                                         FILING OR DETERMINATION OF AN
                   Library of Congress                                                             ACTION OR APPEAL
                   Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                      COURT NAME AND LOCATION
        G
        ✔ ACTION            G APPEAL
DOCKET NO.                       DATE FILED                                 United Stated District Court - District of Massachusetts
    1:22-cv-12139                          12/17/2022
PLAINTIFF                                                                          DEFENDANT

    STRIKE 3 HOLDINGS, LLC                                                           JOHN DOE subscriber assigned IP address
                                                                                     73.249.157.254


       COPYRIGHT
                                                             TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1                                 SEE ATTACHED

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                          G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                             TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

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3                                                                      .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                 WRITTEN OPINION ATTACHED                                     DATE RENDERED
            Dismissed Voluntarily                                          G Yes        G No

CLERK                                                         (BY) DEPUTY CLERK                                            DATE
        Robert M. Farrell                                       /s/ Samantha Dore                                             3/1/2023

                   1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                      mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                   4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
                                    Case 1:22-cv-12139-LTS Document 11 Filed 03/01/23 Page 2 of 5
                                                          Exhibit A to the Complaint
Location: Milton, MA                                                                                     IP Address: 73.249.157.254
Total Works Infringed: 39                                                                                ISP: Comcast Cable
 Work       Hashes                                                                UTC             Site         Published     Registered   Registration
 1          Info Hash: 7C99E492EC61646CED06952C682B68AACFCD7C33                          12-05-   Vixen        02-23-2019    04-29-2019   PA0002169931
            File Hash:                                                                     2022
            7065F8A4A31E575DD63240B683BF3D1777AFE7B881F5FD81849D9BD1F9CE80DA           04:05:10
 2          Info Hash: 09CCA508E03DDF7761465A3DA9A31FEDDF0121E4                          10-18-   Vixen        10-14-2022    10-31-2022   PA0002377830
            File Hash:                                                                     2022
            8AB17482059F60CACC1844D573721A3F38E3BB9AE7FFAC2E9F5C225926C19BB0           02:27:37
 3          Info Hash: BFAE234339BBE35D844A4EE4133C90406DF7B3E8                          10-03-   Vixen        09-30-2022    10-31-2022   PA0002377819
            File Hash:                                                                     2022
            F8D7494A0822F44A156C1B9FE51CF24B35ECC74999B8F94853470ADCE2ED2187           02:26:23
 4          Info Hash: 720BD54DC91FCDA2A82F0F1E95A74EC2FAFF0DDC                          09-26-   Vixen        09-23-2022    10-05-2022   PA0002373763
            File Hash:                                                                     2022
            8746C503E2BBAE805C28AD87A22566335199650A638A6AE3B697CF21DA0DF0D6           03:59:59
 5          Info Hash: 9CB98A5DE6B5C084B0F825F59FA6A490C053EBEF                          09-19-   Vixen        09-16-2022    10-05-2022   PA0002373762
            File Hash:                                                                     2022
            4802D778EE214D60440AF3F7AE6EBEB55C30075BC2549A33994190610BAE45D6           01:54:25
 6          Info Hash: 57D38984B201F44F8712EBFB996E659BB0298148                          08-23-   Vixen        08-19-2022    08-30-2022   PA0002367752
            File Hash:                                                                     2022
            D83539C6D18437AECC449DBF1FBC2782151D08C938DB1169AEB616391BD7EA15           00:28:39
 7          Info Hash: 38420ECBE7E43FCC35D5BD9E4114CF6BF9D1E08B                          06-20-   Vixen        06-17-2022    06-27-2022   PA0002355040
            File Hash:                                                                     2022
            B1F63F1C99245E9C5A34C57148DDFC6761083F67D3C8DDA827A0002FEFFDA637           02:03:08
 8          Info Hash: 1728CB5F8700CB059FF02BBFCEB8884985F57CD7                          06-06-   Vixen        06-03-2022    06-27-2022   PA0002354958
            File Hash:                                                                     2022
            3031212457D6D3977B24E542FD2BD9DB5EC49B47F6E305DED4DE803836F8D750           02:17:00
 9          Info Hash: D323B4EC16C8CD83752B6A5E4B65DEED95346FA2                          05-09-   Vixen        05-06-2022    05-20-2022   PA0002350383
            File Hash:                                                                     2022
            32BB57E161FF42FDD49E28DBBB43994CDD455364EEA844B2396E47DDB7E46DA2           02:02:30
 10         Info Hash: D587F487F1E7C828A591E34C3BE2B443D57BD17B                          05-02-   Vixen        04-29-2022    05-20-2022   PA0002350386
            File Hash:                                                                     2022
            4A6690EFF814EBF7C2B83DA61CFC3C128F709B7D3BAF1F95A58723A56FAB7E3F           04:33:00
 11         Info Hash: 89F958D507CD3D674F1E7D1779C02D717C70434C                          02-28-   Vixen        02-25-2022    03-29-2022   PA0002342849
            File Hash:                                                                     2022
            B5D31B55B67A613807EBBE4CE720BB877617D202C94A27E457204CD09B918633           04:00:12
                               Case 1:22-cv-12139-LTS Document 11 Filed 03/01/23 Page 3 of 5

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
12     Info Hash: E487AEAF023F000FA0480422191EA7DFF77E00FB                   01-31-   Vixen   01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                              2022
       AEDD21CC7A3E4701C1F3B23E0A5882C51BC45309D48DD1CD664C8F846FD123BC    04:31:16
13     Info Hash: 3BF8426F875DECFA85506D36A574F80B2A19F08B                   01-25-   Vixen   01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       FB143D4830531FA2EB332A2331C575F176F0BDECAA39B9C3AA9588E8BF72EABA    02:06:16
14     Info Hash: 16A48B7A92A444DC78ECE6EEF12C584E71C8518B                   01-11-   Vixen   01-07-2022   01-17-2022   PA0002330115
       File Hash:                                                              2022
       D6B0942D7A010E755C88F46FC028DC1480211AF742A96DB58CAAD66B7C9DDA89    02:23:51
15     Info Hash: 795401C50FDDADEABBF656934EF4862EDAF4D812                   11-15-   Vixen   11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429    03:06:10
16     Info Hash: D156C5F6B8F3AF78BE99FC1DD0FBF7177BBCED5C                   10-25-   Vixen   10-22-2021   11-11-2021   PA0002321272
       File Hash:                                                              2021
       59510D6F123F21429DA99C2323BF6EC72A9E3C364259F9D987AE22848F5FC312    02:23:27
17     Info Hash: F79ED94190ADC5734573AA4A13934FF9627357CD                   10-20-   Vixen   04-16-2021   06-09-2021   PA0002295602
       File Hash:                                                              2021
       D1EE25645FFFE8CB3A087B21142C117B49FF62A9524BE31CFEC31B956B960361    03:53:45
18     Info Hash: 1A73D8163644CA83E455669951E0582657F422E8                   09-16-   Vixen   09-13-2021   10-05-2021   PA0002315286
       File Hash:                                                              2021
       8BD1C16FAA5C47663ADA3CA5D2931DDD6D6FF4CFADA05F3FC545F4D565B08042    03:52:12
19     Info Hash: D3C7547DFCD8ED55266AD1B89E3DB438623BAFF5                   09-06-   Vixen   09-03-2021   09-30-2021   PA0002320425
       File Hash:                                                              2021
       77A1BFABFF7693F1B8DFD978DBE77DC1B649C8700FA90290EAB65328CE80BD32    00:54:20
20     Info Hash: A415A6857FC17645C0DD4F459251809AE42AF562                   08-30-   Vixen   08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2021
       BCB5233B1D65A9B1514D1C32F7A765BBEFEE0FAB7DA467BC9573F47FE7EC1955    00:53:24
21     Info Hash: 3DB6B513A919E0644D5F481513629394A7531A79                   08-02-   Vixen   07-30-2021   08-20-2021   PA0002312017
       File Hash:                                                              2021
       74F92B87D6C2F0B787AD1CCB8FF4D8F3E3447A1BA1457038E3A99C299BCBE8D5    01:46:07
22     Info Hash: 86491FC10A5128233E050F0E4AAC4809942A94A4                   07-05-   Vixen   06-18-2021   08-20-2021   PA0002312012
       File Hash:                                                              2021
       F42ACA9A08AD5FD88857FE14B1C7F85EB40EDE50AAB0DAD7950C08601C1A1994    04:10:16
23     Info Hash: EAFFC4AF758749CA06B41D83162652ECC6AD6085                   05-11-   Vixen   04-23-2021   04-27-2021   PA0002288949
       File Hash:                                                              2021
       FB353E4A109C89425834A36C41FCB0BFBBB32F67D9AD8E1B6F619A1E7A099F56    02:09:48
                               Case 1:22-cv-12139-LTS Document 11 Filed 03/01/23 Page 4 of 5

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
24     Info Hash: 977EF2D88F629A1A1C561A9DC040CD654B348E66                   04-28-   Vixen   04-09-2021   06-03-2021   PA0002299683
       File Hash:                                                              2021
       F3544C96F7762233FF0181A3A5E91B517F1A8538D7BA401E805DB6C974C158D9    02:23:23
25     Info Hash: 8069E67E8986BB80941FE059FEB9475565EC7B06                   04-14-   Vixen   03-26-2021   04-27-2021   PA0002288946
       File Hash:                                                              2021
       748DDA89381F521EFA5A8BB3D3F82C6C99D4BFA94808065010248109AAA9C930    01:51:58
26     Info Hash: D4E56208BE290AAF986DD87881D7A77129089B86                   12-26-   Vixen   12-18-2020   01-04-2021   PA0002277038
       File Hash:                                                              2020
       CFFEB7D5057D1FD28D9A4F4C1DE274C2FD8D161A7B8518F72C759E7BDD4EA716    04:03:56
27     Info Hash: AEA7918FD1B713FD99E2F97CFFC399F016CF59E9                   11-08-   Vixen   11-06-2020   12-09-2020   PA0002274936
       File Hash:                                                              2020
       C9FABD456B6F378F280307BFE97EEF137BEB4D2D010417C8FCDA6B7AA8548122    02:49:07
28     Info Hash: 7BA08B86ABE669CD4B42FC7925A21AC4D714FD42                   10-11-   Vixen   10-09-2020   11-18-2020   PA0002272626
       File Hash:                                                              2020
       7194B11996C69952E49988C993A0C83B0512F42E2992D1EECF9BE2220DA20B67    04:20:29
29     Info Hash: 3B6198833B8CF16DAE7D8E122C3AD5AD62507AAD                   09-21-   Vixen   09-18-2020   09-29-2020   PA0002258680
       File Hash:                                                              2020
       D1F3EF62AA81DCC45B49CE454C8E234C6C5668D49212ACF906FAAFCE9AE72D1B    02:05:49
30     Info Hash: 73F11D53A2BC29AC77244D0A935B110B6A10F92B                   08-29-   Vixen   08-28-2020   09-22-2020   PA0002265876
       File Hash:                                                              2020
       0DB938393D25F70BA494D6EE6B0CE54A953C5573E9692A9287566D1C5BE0E1D1    02:06:48
31     Info Hash: B5110931763F80CE412C1AD08F039866F56867BE                   07-12-   Vixen   07-10-2020   07-20-2020   PA0002248961
       File Hash:                                                              2020
       01897F07F10DAD283362ACE58C8F3D0E1A5E13FAD2432D5FCD38F40F7E715E1B    02:16:34
32     Info Hash: 9D0DD6ED44118B4E55D80196591F7AC42E295976                   07-04-   Vixen   07-03-2020   07-16-2020   PA0002248578
       File Hash:                                                              2020
       738DDC3A312718766B64BDB17DD2846B5E1715AFBA943EA819CCE5A2066B4BF7    00:47:29
33     Info Hash: B77C12C7D563C86C9A893703E829DA6C952DC792                   06-06-   Vixen   06-05-2020   06-22-2020   PA0002245631
       File Hash:                                                              2020
       54F794F52EB2C2B3101A755E91FF580F9DF74D13712179B25CD6C4A800A774EE    03:17:52
34     Info Hash: 47365B31B7686F2653AA3BD794798E981E8EF0E1                   05-23-   Vixen   05-22-2020   06-22-2020   PA0002245640
       File Hash:                                                              2020
       400282296C0B501AB8384682184510E5D0C4055777FCA56052F41ED538F3FA6D    01:29:40
35     Info Hash: BE70924185EC2FE7A36FEAD8E9509F907D1E761E                   05-17-   Vixen   05-15-2020   06-08-2020   PA0002243648
       File Hash:                                                              2020
       6F61FD409AC3E01E50C396538E4726ECF5F3B1722D00FDCE02BC532ED09A7734    01:41:35
                               Case 1:22-cv-12139-LTS Document 11 Filed 03/01/23 Page 5 of 5

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
36     Info Hash: DC8EBE5A0710690ABCC9E2F8890B2DE95E767539                   04-04-   Vixen   04-03-2020   04-17-2020   PA0002237302
       File Hash:                                                              2020
       60EC07A4A9AA06DC825CFB212D29AB148410F5AFD43D4323AFA4DA67C9A70EEA    01:52:36
37     Info Hash: B63010990EB37E86B9F26FBD4B7BA9FB6B2C89DF                   03-05-   Vixen   03-04-2020   04-17-2020   PA0002246168
       File Hash:                                                              2020
       834EBFD05DF0DF4AB0CA0F7CCE0052FF451176C4B542FD741399F1F7A692CEBD    02:30:17
38     Info Hash: 62AAC571A10AA16BC3610CC6C6D6F57CD37A5690                   02-24-   Vixen   02-23-2020   04-17-2020   PA0002246164
       File Hash:                                                              2020
       141ADAD51C38976F116C3D8344349655CBEEF5CB5B2470A24C87A4D28E292B7D    01:35:27
39     Info Hash: 7D7C8F9388BB672616AE4776724BD944771BFC3B                   02-22-   Vixen   02-18-2020   03-18-2020   PA0002241449
       File Hash:                                                              2020
       D8A29BDFAAA4AA9A9B54FE96761793BC0C8E85458C49BB044CBC17A6D7A832E0    03:50:53
